     Case 2:18-cv-00103-SMJ     ECF No. 30   filed 12/03/18   PageID.284 Page 1 of 5




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4
  [Additional counsel identified on
5 signature page]

6

7                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
                             SPOKANE DIVISION
8
     ALEX MCVICKER and MARK
9    MOSS, individually and on behalf of     No. 2:18-cv-00103-SMJ
     all others similarly situated,
10                                           (Consolidated with
                        Plaintiff,           No. 2:18-cv-00100)
11         v.                                STIPULATION TO EXTEND
                                             BRIEFING SCHEDULE RE MOTION
     GIGA WATT, INC.; GIGAWATT               TO DISMISS (Dkt. # 27)
12   PTE, LTD; CRYPTONOMOS PTE,
     LTD; and DAVE CARLSON;                  AND [PROPOSED] ORDER
13   LEONID MARKIN; and EDWARD
     KHAPTAKHAEV, a foreign
     corporation,                            Note for Motion Calendar:
14                                           1/2/2019
                        Defendants
                                             Note for Motion Calendar if Motion to
15                                           Expedite Granted:
     RAYMOND BALESTRA,                       12/10/2018
16   individually and on behalf of all
     others similarly situated,
17                      Plaintiff,
           v.
18
     GIGA WATT, INC., ET AL.,
19
                        Defendants.
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     STIPULATION AND ORDER- 1
     (No. 2:18-cv-00103-SMJ)
     Case 2:18-cv-00103-SMJ     ECF No. 30   filed 12/03/18    PageID.285 Page 2 of 5




 1                               I.     STIPULATION

 2         Plaintiffs Raymond Balestra, Alex McVicker, and Mark Moss (“Plaintiffs”)

 3 and Defendants Giga Watt, Inc., Dave Carlson, Leonid Markin, and Edward

 4 Khaptakhaev (the “Moving Defendants”), by and through their undersigned

 5 counsel of record, hereby stipulate and agree as follows:

 6         1.    A Motion to Dismiss Under Rule 12(b)(6) (Dkt. #27) was filed by the

 7 Moving Defendants’ counsel on Wednesday, November 21, 2018. A response to

 8 the Motion to Dismiss is due on Wednesday, December 12, 2018. A reply to the

 9 response to the Motion to Dismiss is due Wednesday, December 26, 2018.

10         2.    Counsel for Plaintiffs and the Moving Defendants have conferred and

11 agreed to a thirty (30) day extension as to the hearing date and to file responsive

12 papers and the reply as follows:

13         a.    Plaintiffs’ response brief would be due Friday, January 11, 2019;

14         b.    The Moving Defendants’ reply would be due Friday, January 25,

15 2019; and

16         c.    The Motion to Dismiss would be noted for hearing on February 12,

17 2019.

18         d.    The Motion to Dismiss was filed without a request for oral argument.

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     STIPULATION AND ORDER- 2
     (No. 2:18-cv-00103-SMJ)
     Case 2:18-cv-00103-SMJ   ECF No. 30   filed 12/03/18   PageID.286 Page 3 of 5




1        3.    Plaintiffs agree not to take any action as to any Defendant in the

2 intervening time period.

3        So stipulated and agreed to on December 3, 2018.

4
                                 By:    /s/ Roger M. Townsend
5                                       Roger M. Townsend, WSBA #25525
                                        BRESKIN JOHNSON TOWNSEND PLLC
6                                       1000 Second Ave. Suite 3670
                                        Seattle, WA 98104
7                                       Telephone: (206) 652-8660
                                        Email: rtownsend@bjtlegal.com
8
                                 Attorney for Plaintiffs
9

10                               By:    /s/ Marc Rosenberg
                                        Marc Rosenberg, WSBA #31034
11                                      LEE SMART, P.S., INC.
                                        701 Pike Street, Suite 1800
12                                      Seattle, WA 98101
                                        Telephone: (206) 622-7990
13                                      Email: mr@leesmart.com

14                               Attorneys for Defendants Giga Watt, Inc., Dave
                                 Carlson, Leonid Markin, and Edwrd Khaptakhaev
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     STIPULATION AND ORDER- 3
     (No. 2:18-cv-00103-SMJ)
      Case 2:18-cv-00103-SMJ     ECF No. 30   filed 12/03/18   PageID.287 Page 4 of 5




1                              II.     [PROPOSED] ORDER

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           This matter is before the Court on the parties’ STIPULATION TO
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     EXTEND TIME TO RESPOND TO MOTION TO DISMISS AND REPLY TO
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     RESPONSE TO MOTION TO DISMISS. The Court, having considered the
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     Stipulation, orders as follows:
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           1.    Plaintiffs’ response brief is due on our before Friday, January 11,
7                2019.

8          2.    The Moving Defendants’ reply is due on or before Friday, January 25.
                 2019.
9          3.    The Motion to Dismiss will be noted for hearing on February 12,
                 2019.
10
           4.    Plaintiffs shall not to take any action as to any Defendant during this
11               time period.

12         DATED this ______ day of _______________, 2018.

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14                            _____________________________________
                              UNITED STATES DISTRICT JUDGE
15                            HONORABLE SALVADOR MENDOZA JR

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      STIPULATION AND ORDER- 4
      (No. 2:18-cv-00103-SMJ)
     Case 2:18-cv-00103-SMJ    ECF No. 30     filed 12/03/18   PageID.288 Page 5 of 5




1                             CERTIFICATE OF SERVICE

2        I hereby certify under penalty of perjury that on this date I filed the

3 foregoing document with the Clerk of the Court using the court’s ECF filing

4 system which will automatically serve the filing on registered ECF users:

5        Marc Rosenberg
         LEE SMART, P.S., INC.
6        1800 One Convention Place
         701 Pike Street
7        Seattle, WA 98101-3929
         (206) 624-7990
8
         Attorneys for Defendants
9
         DATED December 3, 2018, at Seattle, Washington.
10
                                          s/Leslie Boston
11                                        Leslie Boston, Legal Assistant

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     STIPULATION AND ORDER- 5
     (No. 2:18-cv-00103-SMJ)
